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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                             No. 21-cr-399 (RDM)
         Plaintiff,
v.

ROMAN STERLINGOV

         Defendant.




DEFENDANT’S RESPONSE TO GOVERNMENT’S ORDER TO SHOW
CAUSE (DKT. 219) AND RENEWED MOTION FOR ORDER TO SHOW
CAUSE REGARDING GOVERNMENT’S ONGOING VIOLATIONS OF
                LOCAL CRIMINAL RULE 57.7(b)




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                                         Introduction
       Upon this Court’s Order at 12:22 PM EDT today ordering Counsel to respond by 5:00

PM EDT today to the Government’s Order to Show Cause filed yesterday, Counsel responds as

follows.

       The Government in its renewed motion identifies no statement by Counsel in violation of

Local Rule 57.7. The statements it identifies in its Motion merely reference a Twitter Space that

was scheduled for tonight to update the blockchain community on the trial date, the procedural

status, and to fundraise. The complained of statements in the Government’s new motion say

nothing substantive about this case.

       The Government, in its censorious zeal misinterprets Local Rule 57.7 as a prohibition on

any public statement regarding Mr. Sterlingov’s case. Nothing in the new Twitter posts identified

by the Government violates the Local Rule. The purpose of the Twitter Space was to inform the

small number of attendants of the change of the trial date and ask for donations to Mr.

Sterlingov’s legal defense fund. Upon filing of the Government’s chilling motion, based on its

non-stop surveillance of the defense lawyers’ Twitter feeds, the Defense has cancelled the

Twitter Space.

       The Defense notes again that the United States Government engaged in extensive extra-

judicial commentary on Mr. Sterlingov’s case over a period of years. As this Court knows, and

as discussed below, members of the prosecution and the prosecutorial team had extensive

discussions with senior WIRED Magazine reporter Andy Greenberg, who also wrote a book

praising Chainalysis, an expert witness in this case. The book also documents a conversation

between Mr. Sterlingov and noticed Government witness and arresting officer Matthew Price.

The book is widely distributed and available nationally and internationally.

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       The Defense has previously refrained from informing the Court about the fact that

Defense Counsel Tor Ekeland coincidentally has known Mr. Greenberg for over a decade, and

that Mr. Greenberg has disclosed to him the scope of the Government’s and its agents’ extra-

judicial statements regarding Chainalysis, and this case. If this Court grants a hearing on the

Government’s motion, then the Defense requests that the Government and its agents be put on

the record under oath regarding all of their extra-judicial contacts with the press regarding this

case and Chainalysis Reactor over the course of the last few years. The Defense would also seek

to put Mr. Greenberg on the stand at any such hearing. The Defense would seek testimony at any

such hearing from all of the Government prosecutors and investigators listed in the index to Mr.

Greenberg’s book, as well as an explanation as to why Chainalysis published evidence from this

case before trial in a whitepaper widely available on the internet that it presented pretrial at the

USENIX Security Symposium in Boston, MA. If the Court denies the Government’s motion, the

Defense will withdraw its renewed motion for an Order to Show Cause regarding the

Government’s extensive violations of Local Rule 57.7.

       The Government’s surveillance and chilling motion impedes Mr. Sterlingov’s ability to

fundraise for his legal defense. The Defense withdrew from the CJA program after finding it

highly problematic and that very few people were willing to work with the program because of

its history of delayed payment, reduction in fees, and non-payment. The sole purpose of the

Twitter Space was to inform people that the trial date had changed and that the Defense needs to

raise money to cover costs for housing that were spent when the Defense obtained housing in

D.C. for a month in September in anticipation of the original trial date.




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        Additionally, as a matter of law, and for the reasons reiterated below from our prior

motions in this matter, there have been no violations of Local Rule 57.7 and the mere statement

that there will be a Twitter Space discussing new details of the case does not violate the Rule.

        Courts in this District routinely hold that both the size of the venire in the District of

Columbia, and voir dire, eliminate the possibility of any prejudice from attorney pre-trial

comments. Courts in this District hold this even in the face of the massive negative national

publicity generated by the January 6th cases. Moreover, the Defense’s comments are part of Mr.

Sterlingov’s constitutional right to reply and mitigate the damage done by the Government’s

extensive multi-year press campaign related to this case. The Government has spent years

promoting their for-profit, proprietary, junk science, black-box blockchain surveillance forensics

at the heart of their case to the substantial prejudice of Mr. Sterlingov.

        Finally, the Defense’s public commentary in this case has greatly aided Mr. Sterlingov’s

constitutional right to put on a complete defense. Not only has it raised money for his defense in

the face of the Government’s pre-trial seizure of his assets, but it has also revealed information

about the failures of Chainalysis Inc. currently nowhere in the public record. The speech in

question is political speech going to matters of grave public concern: the integrity of our justice

system and the corrupting influence of money and status-seeking upon the institution. To utilize

a prior restraint on speech to restrict Mr. Sterlingov’s and his attorneys’ 1st, 5th, and 6th

amendment rights to publicly comment about his public trial not only runs contrary to the

precedent in this District, but it also runs contrary to his right to put on a complete defense in the

face of the DOJ’s media juggernaut, and the public’s right to be informed regarding what is

being done in the name of their taxpayer dollars. Simply put, as applied, the Government’s

requested relief is unconstitutional under the 1st, 5th, and 6th amendments to the United States


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Constitution. Additionally, given the current state of the case law, Local Rule 57.7 appears to be

facially unconstitutional as well.

                                               Background
        For years the Government has promoted itself to the national media trumpeting Mr.

Sterlingov’s case and the purported prowess of their blockchain forensics before the Defense

ever uttered a word to the public. On April 28, 2021, the United States Department of Justice

issues a national press release trumpeting Mr. Sterlingov’s arrest and tarring him as the operator

of Bitcoin Fog.1 The story is immediately picked up by the national press.2 But the

Government’s press junket begins even earlier than this.

        Around 2020, individuals from Chainalysis Inc. – the Government’s for-profit private

blockchain forensic vendor - the prosecution, investigators, witnesses, and others involved in this

case, begin conversations with Senior WIRED Magazine reporter Andy Greenberg. These

discussions and interviews, over the course of the last few years, form the basis of Mr.

Greenberg’s book Tracers in the Dark: The Global Hunt for the Crime Lords of

Cryptocurrency, released November 15, 2022.3 The book receives widespread media attention

including reviews in the New York Times and the Washington Post.4 The book specifically




1
  Individual Arrested and Charged with Operating Notorious Darknet Cryptocurrency “Mixer”, DEPARTMENT OF
JUSTICE (Apr. 28, 2021).
https://www.justice.gov/opa/pr/individual-arrested-and-charged-operating-notorious-darknet-cryptocurrency-mixer
2
  See e.g. Lawrence Delevingne, U.S. arrests alleged 'Bitcoin Fog' money launderer REUTERS (Apr. 28, 2021).
 https://www.reuters.com/technology/us-arrests-alleged-bitcoin-fog-money-launderer-2021-04-28/.
3
  Tracers in the Dark: The Global Hunt for the Crime Lords of Cryptocurrency, Andy Greenberg, Doubleday
(2022).
4
  See e.g. Mark Gimein, They Thought They Were Invisible. They Were Wrong. NEW YORK TIMES (NOV. 16, 2022)
https://www.nytimes.com/2022/11/16/books/review/tracers-in-the-dark-andy-greenberg.html; Dina Temple-Raston,
Criminals thought crypto was untraceable. They were wrong WASHINGTON POST (Dec. 29, 2022)
https://www.washingtonpost.com/books/2022/12/29/tracers-crime-cryptocurrency-andy-greenberg/; An absorbing
work of true crime—and, as the bad guys will tell you, true punishment KIRKUS REVIEWS (Nov.15, 2022)
https://www.kirkusreviews.com/book-reviews/andy-greenberg/tracers-in-the-dark/.
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discusses Mr. Sterlingov’s case as well as lionizing members of the Government’s prosecutorial

and investigatory team.

        The nationally and internationally widely distributed and available book chronicles

Chainalysis’s work in the emerging standardless field of blockchain forensics and directly

identifies Mr. Sterlingov by name, characterizing him as the operator of Bitcoin Fog even though

Mr. Sterlingov’s trial is pending. The index contains entries for: Chainalysis, Inc. (the $8.6

billion private black-box blockchain surveillance company that uses this case to help launch

itself);5 Catherine Pelker (the initiating FBI Analyst on this case who becomes the lead

prosecutor on this case);6 Chainalysis Reactor (the black-box proprietary forensics software used

to accuse Mr. Sterlingov);7 Aaron Bice (the IRS Criminal Investigator on this case);8 Excygent

LLC (the for-profit company developed by Mr. Bice during his time as an IRS-CI working on

this case that was bought for an undisclosed sum by Chainalysis shortly after Mr. Sterlingov’s

arrest);9 Mark Karpelès (criminally convicted data fraudster and former owner of Mt. Gox from

which the inauthentic Mt. Gox records used in this case originated);10 Mt. Gox (a former hacked

bankrupt Bitcoin exchange);11 Michael Gronager (co-founder and CEO of Chainalysis and a

material fact witness in this case);12 Jonathan Levin (co-founder and CSO of Chainalysis and a

material fact witness in this case); Tigran Gambaryan (one of the arresting officers who now




5
  Tracers in the Dark: The Global Hunt for the Crime Lords of Cryptocurrency, Andy Greenberg, Doubleday
(2022) at 92, 100-02, 106-112, 137-39, 168-70, 173, 189, 200-3, 237-38, 258, 287, 289, 292, 297-318.
6
  Id. at 127, 248, 287.
7
  Id. at 138, 168, 172, 185, 189, 238, 244, 246, 253, 258, 319.
8
  Id. at 246, 248, 265-66, 269, 272, 275, 278, 281.
9
  Id. at 246.
10
   Id. at 93, 100, 103-05, 118, 120.
11
   Id. at 26, 34, 39, 41, 53, 54, 91-94, 100, 103-5, 111-14, 117-21, 129-30, 134, 137, 291.
12
   Id. at 91-106, 108, 110-112, 117, 121-124, 130-31, 134, 137-39, 169-70, 199-200, 248-49, 299-301, 304-305,
310-12, 318, 319-20.
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works at Binance and a material fact witness in this case);13 Matthew Price (one of the arresting

officers who now works at Binance and a material fact witness in this case);14 Youli Lee (an

original prosecutor on this case and now Senior Legal Director of Global Operations at

Chainalysis);15 Zia Faruqui (a former prosecutor on this case and now a magistrate judge for the

Federal District Court for the District of Columbia who has written an opinion endorsing the

newly emergent, standardless blockchain forensics at issue here that mentions Chainalysis by

name);16 and William Frentzen (a former Federal Prosecutor who worked with arresting officer

Tigran Gambaryan and who now represents Chainalysis’s as counsel in this matter);17 among

others.

          Arresting officer Tigran Gambaryan features prominently in the book as its main

character. The book contains an alleged account of a conversation between Tigran Gambaryan,

noticed Government witness Matthew Price, and Mr. Sterlingov upon his arrest at LAX in April

2021.18 The book portrays Mr. Sterlingov’s arrest, describing how arresting officers Tigran

Gambaryan and Matt Price drove through the night from Fresno to Los Angeles International

Airport to arrest Mr. Sterlingov, and how Mr. Gambaryan spoke to Mr. Sterlingov in Russian,

apparently not even knowing that he spoke English.19




13
   Id. at 10-15, 17, 19-25, 35, 66-76, 78-82, 111-15, 122-30, 132-34, 199-203, 238-39, 245-55, 258, 262, 269, 280,
281, 287, 289-93, 301-303, 317, 323-326.
14
   Id. at 287, 289-91, 324
15
   Id. at 269-71, 279-80.
16
   Id. at 125-26, 246-47, 254-57, 263-266, 269-271, 280, 288; see also In re Search Multiple Email Accounts
Pursuant to 18 U.S.C. § 2703 for Investigation of Violation of 18 U.S.C. § 1956, 585 F. Supp. 3d 1, 8 (D.D.C. 2021).
17
   Id. at 19, 72, 76, 81, 112, 114-16, 127, 289, 302.
18
   See Tracers in the Dark: The Global Hunt for the Crime Lords of Cryptocurrency, Andy Greenberg, Doubleday
(2022) at 290-91.
19
   Id. at 291.
                                                         8
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        In January 2021, Chainalysis hires Elizabeth Bisbee (Government proffered expert

witness) from her role as an Intelligence Research Specialist at the Drug Enforcement Agency.20

        On April 27, 2021, the FBI arrests Mr. Sterlingov at Los Angeles International Airport.

The same day WIRED runs an exclusive article announcing the arrest and quoting Jonathan

Levin promoting the blockchain forensics used in the case. DOJ does not issue an official press

release until the next day.21




        On April 28, 2021, IRS-CI Aaron Bice’s private company, Excygent, LLC, features

prominently in the two DOJ press releases announcing Mr. Sterlingov’s arrest. The DOJ thanks

Excygent, LLC at the head of a list of names including FBI field offices and domestic and

international law enforcement.22




20
   E. Bisbee CV (sent by the Government to the Court and the Defense via email).
21
   See Andy Greenberg, Feds Arrest an Alleged $336M Bitcoin-Laundering Kingpin, WIRED (Apr. 27, 2021)
available at https://www.wired.com/story/bitcoin-fog-dark-web-cryptocurrency-arrest/ (last accessed June 13, 2023).
22
   See Individual Arrested and Charged with Operating Notorious Darknet Cryptocurrency “Mixer”, DEPARTMENT
OF JUSTICE (Apr. 28, 2023) available at https://www.justice.gov/opa/pr/individual-arrested-and-charged-operating-
notorious-darknet-cryptocurrency-mixer (last accessed June 13, 2023).
                                                        9
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        Less than two months after Mr. Sterlingov’s arrest, on June 24, 2021, Chainalysis

completes its Series E funding round, raising $100 million.23 At the time, Chainalysis values

itself at $4.2 billion. Chainalysis has a pattern of investor fundraising around law enforcement

press releases, as well as hiring former IRS, DEA, FBI and DOJ employees.

        On October 5, 2021, Chainalysis buys Excygent, LLC for undisclosed compensation, and

Mr. Bice begins working for Chainalysis. A review of government contracting records shows

that Excygent has a revenue stream of roughly $10 million since its formation during Mr. Bice’s

tenure as an IRS-CI.24

        In January 2022, Chainalysis hires Youli Lee, a former prosecutor on this case, as Senior

Legal Director of Global Investigations, Litigation and Governance.

        In February 2022, undersigned counsel began representing Mr. Sterlingov.

        As of May 2022, Chainalysis’ market valuation stands at $8.6 billion.25




23
   See https://www.crunchbase.com/funding_round/chainalysis-series-e--b35d8de5.
24
   See General Services Administration, www.sam.gov (providing searchable database of government contracts)
(last accessed Dec. 23, 2022).
25
   See Gertrude Chavez-Dreyfuss, Chainalysis Raises $170 million in 6th Funding Round with $8.6 Billion
Valuation, REUTERS (May 12, 2022) available at https://www.reuters.com/technology/chainalysis-raises-170-mln-
6th-funding-round-with-86-bln-valuation-2022-05-12/ (last accessed June 12, 2023).
                                                      10
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        On August 10-12, 2022, despite there being a pending criminal trial in this matter,

Chainalysis Inc. presents a whitepaper through its agents at the USENIX Security Symposium in

Boston, MA using evidence in this case and naming and accusing Mr. Sterlingov publicly.26 The

paper is widely available on the internet.27

        On April 4-5, 2023, Chainalysis hosts its Chainalysis Links 2023 Conference at the

Marriot Marquis in Times Square, New York City. The event sells out at $599.00 for a

commercial ticket, with a $399.00 government rate ticket. The New York Times covers the

event.28 At 10:00 am of day one of the Conference, Michael Gronager, Tigran Gambaryan and

Andy Greenberg appeared together on stage to discuss Mr. Gronager’s and Mr. Gambaryan’s

roles as protagonists in Tracers in the Dark.29




26
   See Danny Nelson, Chainalysis Raises $170M at $8.6B Valuation, COINDESK (May 11, 2023) available at
https://www.coindesk.com/business/2022/05/12/chainalysis-raises-170m-at-86b-valuation/ (last accessed June 13,
2023).
27
   See George Kappos et al. How to Peel a Million: Validating and Expanding Bitcoin Clusters (available at
https://www.usenix.org/system/files/sec22-kappos.pdf) (last accessed Jan. 17, 2024).
28
   See David Yaffe-Bellany, The Crypto Detectives are Cleaning Up, NEW YORK TIMES (April 22, 2023) available at
https://www.nytimes.com/2023/04/22/business/crypto-blockchain-tracking-chainalysis.html (last accessed June 12,
2023).
29
   See Chainalysis Links 2023 Conference, Schedule Day 1, (April 3-4, 2023) available at
https://www.chainalysis.com/links-nyc/.
                                                      11
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L-R: Tracers in the Dark author Andy Greenberg; Chainalysis Inc., CEO Michael Gronager; and
  Mr. Sterlingov's arresting officer Tigran Gambaryan; with Dina Temple-Raston, on stage at
                          Chainalysis Links, 2023 in New York City.30




                     From the Conference Agenda for Chainalysis Links 2023.31




30
   See David Yaffe-Bellany, The Crypto Detectives are Cleaning Up, NEW YORK TIMES (April 22, 2023) available at
https://www.nytimes.com/2023/04/22/business/crypto-blockchain-tracking-chainalysis.html (last accessed June 12,
2023).
31
   See Chainalysis Links 2023 Conference Schedule, available at https://www.chainalysis.com/links-nyc/#agenda
(last accessed June 13, 2023).
                                                      12
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        Upon information and belief, prosecutor Catherine Pelker, the federal agents who made

the arrest – Tigran Gambaryan and Matthew Price, and Government agents from private

blockchain forensics vendor Chainalysis have all been speaking to the national press for years

about this case. As have others involved in the blockchain forensics they are busy promoting.

Mr. Sterlingov is the last person to do press on this case.

        Upon discovering by chance, in a conversation with Senior WIRED Reporter Andy

Greenberg, the extensive interviews given to him by the prosecution, investigators, and material

fact witnesses in this case in order to promote their positions, the Defense responded by getting a

comment into Mr. Greenberg’s book just days before its final editorial deadline:

                 “His lawyer, the veteran hacker defense attorney Tor Ekeland,
                 vowed to fight the case. ‘Our review of the blockchain analysis
                 tells a different story’, he said. ‘I’m convinced Mr. Sterlingov has
                 been unjustly accused and we look forward to taking this matter to
                 trial as soon as possible.’”32

        The book then goes on to inaccurately claim that Mr. Sterlingov used Bitcoin from Mt.

Gox “to rent Bitcoin Fog’s servers from a hosting company.”33 This is false. There is nothing in

the evidence that supports this, nor has the Government found Bitcoin Fog’s servers, server logs,

nor is the Government is possession of the Bitcoin Fog ledger – items necessary to verifying any

of their speculative investigatory work.

        After this Court denied the release of Mr. Sterlingov’s funds seized pre-trial by the

Government, the Defense appealed to the Bitcoin community for help, speaking on Bitcoin-

related podcasts and travelling to Europe, Mexico City and Miami, to speak at Bitcoin meetups

and conferences about Mr. Sterlingov’s case and to fundraise. From the events, not only was the



32
   Tracers in the Dark: The Global Hunt for the Crime Lords of Cryptocurrency, Andy Greenberg, Doubleday
(2022) at 291.
33
   Id.
                                                     13
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Defense able to raise money for Mr. Sterlingov’s defense, but they were approached by

numerous people who were highly critical of Chainalysis Inc.’s methodologies and who

described instances where faulty Chainalysis analysis led to wrongful arrests in cases that were

later quietly dropped. This information highlights the fact that when the Government cites to

Chainalysis’ successes, what is being left out of the record, are Chainalysis’s failures.

Furthermore, because of the Defense’s public outreach, the Defense was able to obtain otherwise

unattainable experts to work on this case.

        Finally, because of the public interest in this case, and concern within the blockchain

community over the Government’s and Chainalysis’s overreach, the Defense was invited to

speak at the largest Bitcoin conference in the world, Bitcoin 2023 in Miami, successfully raising

funds for Mr. Sterlingov’s defense and receiving offers from volunteers eager to work on the

case. None of this was directed towards Washington D.C. Without the Defense’s public

outreach, Mr. Sterlingov would not be able to afford his defense, nor would he have the

necessary experts to mount a defense.34 Moreover, Mr. Sterlingov has a 1st Amendment right to

reply to the Government’s accusations. Regardless, both the size of the venire and the fact of voir

dire eliminate any issues of potential pretrial juror prejudice. Moreover, the Government’s

current complained of Twitter posts that merely state that there will be a Twitter Space to discuss

new details regarding the case does not violate Local Rule 57.7. Regardless, the Defense simply

has cancelled the Twitter Space in the face of the Government’s chilling surveillance and

harassment of Defense Counsel.




34
  Although the Court appointed Mr. Sterlingov’s counsel Criminal Justice Act counsel on the case, given the
volume of January 6th cases the administrators of CJA for the District of Columbia are handling, the Defense is
informed that they are unlikely to be paid any money from CJA until after the trial.

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                                                 Argument
        The size of the venire in the District of Columbia, in conjunction with voir dire,

eliminates the possibility of juror prejudice based on pre-trial publicity. Courts in this District

repeatedly find no potential juror prejudice even in the face of overwhelming negative national

publicity like that directed at the January 6th defendants. Courts also recognize the prophylactic

power of the centuries-old process of voir dire, the entire point of which is to eliminate prejudice

from the jury panel. If anything, the publicity has helped Mr. Sterlingov get a fair trial, as it has

raised funds, provided experts, and produced useful information. And Mr. Sterlingov is the last

person to the press party. The United States Government Department of Justice has been doing

press for years on this case, and their questionable, newly emergent, standardless, blockchain

forensics that are its evidentiary foundation.

        The Government’s poisoning of the well with its pretrial commentaries, book interviews

and press releases necessitates that Mr. Sterlingov exercise his constitutionally protected rights to

reply, to engage in free political speech, to protect his 5th and 6th amendment rights. To say

nothing of the People’s 1st amendment right to know what their justice system is doing in their

name.

I.      The Size of this District's Venire Cures any Issue

        Courts in this District and the Federal Fourth Circuit Court of Appeals find no prejudice

to a Defendant's right to a fair trial even in the face of national negative press exposure like the

January 6th cases.35 They do so because the size of the venire in the District of Columbia,




35
 See United States v. Chwiesiuk, Criminal Action 21-536 (CKK), at *7 (D.D.C. Mar. 17, 2023);
United States v. Taylor, 942 F.3d 205, 223 (4th Cir. 2019) (affirming denial of venue transfer
motion where local population “was approximately 621,000 residents”)).
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roughly 600,000, guarantees that there are jurors who have not been exposed to pretrial

publicity.36 As the D.C. District Court in United States v. Nassif stated this last September:


                  'The mere existence of intense pretrial publicity is not enough to
                  make a trial unfair, nor is the fact that potential jurors have been
                  exposed to this publicity.' And “[i]t is not required . . . that . . .
                  jurors be totally ignorant of the facts and issues involved.”. “It is
                  sufficient if the juror can lay aside his impression or opinion and
                  render a verdict based on the evidence presented in court.” The
                  Supreme Court has presumed prejudice based on pretrial publicity
                  only once, in a case where a defendant's unlawfully obtained
                  confession was broadcast three times shortly before his trial to
                  large audiences, in a community of only 150,000 people. Courts
                  have successfully empaneled juries and conducted trials in the
                  locations of highly publicized crimes. And importantly, “[w]hen
                  publicity is about the event, rather than directed at the individual
                  defendants, this may lessen any prejudicial impact.”37

         Pretrial, before a jury has been empaneled, the presumption of prejudice belongs only to

the extreme case.38 Skilling v. United States lays out the basic analysis for juror prejudice, taking

into account: (1) the venire size; (2) whether the publicity contains "[a] confession or other

blatantly prejudicial information of the type readers or viewers could not reasonably be expected

to shut from sight;" and, (3) the temporal distance between the alleged crime and trial.39




36
   See United States v. Nassif, Criminal Action 21-421 (JDB) (D.D.C. Sep. 12, 2022) Skilling v. United States, 561
U.S. 358, 382 (noting that there is a “reduced likelihood of prejudice where the venire was drawn from a pool of
over 600,000 individuals” (citing Gentile v. State Bar of Nev., 501 U.S. 1030, 1044 (1991) (plurality opinion));
United States v. Taylor, 942 F.3d 205, 223 (4th Cir. 2019) (affirming denial of venue transfer motion where local
population “was approximately 621,000 residents”).
37
   United States v. Nassif, Criminal Action 21-421 (JDB), at *19 (D.D.C. Sep. 12, 2022) (citing United States v.
Childress,58 F.3d 693, 706 (D.C. Cir. 1995); Irvin v. Dowd, 366 U.S. 717, 722-23 (1961); Rideau v. Louisiana,373
U.S. 723, 724-25, 727 (1963); see United States v. Brock, Crim. A. No. 21-140 (JDB), 2022 WL 3910549, at *7;
Skilling v. United States,561 U.S. at 358, 384 n.17 (2010)).
38
   United States v. Nassif, Criminal Action 21-421 (JDB), at *16 (D.D.C. Sep. 12, 2022) (“Where a jury has not yet
been empaneled, a defendant may show that jury bias has violated his rights based on a presumption of prejudice,
but that ‘presumption of prejudice . . . attends only the extreme case.’”(citing Skilling at 381 (2010) (“Prominence
does not necessarily produce prejudice, and juror impartiality, we have reiterated, does not require ignorance."
quoting Irvin v. Dowd, 366 U.S. 717, 722 (1961)).
39
   Skilling 561 U.S. at 382 - 83 (discussing 3 prong analysis for potential juror prejudice) (2010).
                                                         16
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           First, courts in this district hold that the size of venire ensures there are members that

haven't been exposed to pretrial publicity.40 This is especially true for any of the Defense's

comments as they were generally made at Bitcoin Meetups in Europe, the Bitcoin 2023

conference in Miami, or on podcasts aimed at the Bitcoin community Mr. Sterlingov is part of.

None were directed towards the D.C. venire. Nor are comments in a Twitter Space published to

the public at large, they stay within the Space, and are heard only by the limited number of

people who actively choose to participate in the Space. The Government presents no evidence

that anything in the Twitter Space is directed towards Washington D.C.

           Second, none of the protected speech in question - and it is all protected speech under the

1st Amendment, and any restriction of it is a prior restraint - reaches the level of extremity

required to find prejudice in the pretrial setting.41 As the United States Supreme Court says in

Skilling when it discusses its cases where it's overturned convictions because of press coverage:


                    In each of these cases, we overturned a “conviction obtained in a
                    trial atmosphere that [was] utterly corrupted by press coverage”;
                    our decisions, however, “cannot be made to stand for the
                    proposition that juror exposure to . . . news accounts of the crime .
                    . . alone presumptively deprives the defendant of due process.”
                    Prominence does not necessarily produce prejudice, and juror
                    impartiality, we have reiterated, does not require ignorance. Irvin
                    v. Dowd, 366 U.S. 717, 722 (1961) (Jurors are not required to be
                    “totally ignorant of the facts and issues involved”; “scarcely any of
                    those best qualified to serve as jurors will not have formed some
                    impression or opinion as to the merits of the case.”); Reynolds v.
                    United States, 98 U.S. 145, 155-156 (1879) (“[E]very case of
                    public interest is almost, as a matter of necessity, brought to the
                    attention of all the intelligent people in the vicinity, and scarcely
                    any one can be found among those best fitted for jurors who has
                    not read or heard of it, and who has not some impression or some




40
     See United States v. Chwiesiuk, Criminal Action 21-536 (CKK), at *8-9 (D.D.C. Mar. 17, 2023).
41
     Id.
                                                         17
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                  opinion in respect to its merits.”). A presumption of prejudice, our
                  decisions indicate, attends only the extreme case.42

II.      Voir Dire Cures any Issue

         Regardless, what the size of the venire does not repair voir dire does. Because both the

Court and the parties can ask the jurors if they've viewed or heard anything about the case. 43

Courts in this District hold that voir dire eliminates any presumed prejudice from pretrial

publicity, even with the intensity of media coverage of the January 6th cases.44

         The main point of voir dire is to discover bias, whatever the source, thereby ensuring the

Defendant a fair trial. Conducting an open conversation with the jurors during the jury selection

process is a critical part of this process. Through voir dire, the Court and the Parties have an

opportunity to speak with potential jurors regarding anything they may have learned about the

case through media. This eliminates any reasonable presumption of prejudice, particularly where,

as here, the publicity was directed to the Bitcoin community, where concern over Government

overreach stifling vital technologies like digital currencies runs high. None of the public

commentary in this case was directed at the D.C. venire, it was directed at the Bitcoin and digital

currency communities that face the brunt of the Government’s current assault on digital

currencies. Pre-trial motions are not the place to determine whether potential jurors have been




42
   Skilling v. United States, 561 U.S. 358, 380-81 (2010) (citing Murphy v. Florida, 421 U.S. 794, 798-799 (1975);
Patton v. Yount, 467 U.S. 1025 (1984).
43
   United States. v. Morrow, Criminal Action No. 04-355 (CKK), at *12 (D.D.C. Mar. 21, 2005) (“Furthermore, the
Court expressed its intention to engage in a careful voir dire inquiry into the level and type of pre-trial publicity to
which potential jurors have been exposed. ”); United States v. Chwiesiuk, Criminal Action 21-536 (CKK), at *8-9
(D.D.C. Mar. 17, 2023).
44
   See United States v. Ballenger, Criminal Action 21-719 (JEB), at *10 (D.D.C. Oct. 28, 2022) (“The Court finds
no reason to presume prejudice on the part of this district's venire prior to voir dire, the appropriate tool here for
rooting out prejudice. Like defendants in other scandals or January 6 cases, Ballenger and Price can be tried fairly
and impartially in the District of Columbia.”); see also; United States v. Brock, Criminal Action 21-140 (JDB)
(D.D.C. Aug. 31, 2022); United States v. Garcia, Crim. Action 21-0129 (ABJ) (D.D.C. July 22, 2022); United
States v. Rhodes, 610 F. Supp. 3d 29 (D.D.C. 2022).
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exposed to media attention on this case because at this point it impossible to determine whether

any potential jurors have been exposed to any media in this case. Voir Dire has served this

screening function for centuries.

        Finally, in a case where venue is at issue given that there is no evidence of anything

happening in Washington D.C. except for the unilateral acts of Government agents – by the

Government’s own admission - it is worth noting that one of the purposes of the Constitution’s

venue clauses is to prevent prosecutors from seeking home field advantage by gaming the

peculiarities of a particular jurisdiction. Local Rule 57.7 is not a federal rule of criminal

procedure applicable in the federal courts throughout the United States, and the case law trends

towards it not only being unconstitutional as applied in this case, but unconstitutional on its face.

This perhaps, is why it is not a federal rule of criminal procedure. Rather, it is a local rule in a

jurisdiction where the constitutional basis for venue is highly questionable.

III. Mr. Sterlingov has a First Amendment Right to Reply to the Government's Media
Campaign

        Mr. Sterlingov was left with little choice but to publicly speak out in the face of the

Government's pretrial seizure of his assets and the Government's and its agents, like

Chainalysis’s, extensive press releases and media commentary. A criminal defendant has a First

Amendment right of reply to the Government's statements about their case.45

        In United States v. Ford, the Sixth Circuit held that the defendant had a right to reply

publicly, noting that the defendant's interest in replying to the charges and adverse publicity was

"at a peak." The court emphasized the importance of the public's right to hear the defendant's

reply to maintain confidence in the criminal justice system.



45
  See United States v. Ford, 830 F.2d 596, 600 (6th Cir. 1987) ("The government is our servant, not our master.");
see also, United States v. Carmichael, 326 F. Supp. 2d 1267 (M.D. Ala. 2004).
                                                        19
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                  "The accused has a First Amendment right to reply publicly to the
                  prosecutor's charges, and the public has a right to hear that reply,
                  because of its ongoing concern for the integrity of the criminal
                  justice system and the need to hear from those most directly
                  affected by it.'"46

         A defendant has First Amendment rights to reply publicly to comments made by

prosecutors, and the Defense's comments to the Blockchain community are Mr. Sterlingov’s

reply.47 It is protected speech, and the drastic remedy of prior restraint is unwarranted and

detrimental to Mr. Sterlingov's ability to mount a complete defense in the face of the

Government's prosecutorial juggernaut.48

IV.      Any Gag Order Violates Mr. Sterlingov’s Fifth and Sixth Amendment Rights

         Mr. Sterlingov has a right to publicly discuss his case for investigative and fundraising

purposes as part of his constitutional right to put on a complete defense.49 He also has a Sixth

Amendment right to a public trial.50

         The Defense's public comments on this case have resulted in people approaching them

with information related to the accuracy of the Chainalysis Reactor software and stories of false




46
   See Ford, 830 F.2d at 599.
47
   See e.g. United States v. Schock, No. 16-cr-30061, at *5-6 (C.D. Ill. Dec. 9, 2016) (citing Chi. Council of Lawyers
v. Bauer, 522 F.2d at 250, 253-54 (noting that attorneys are often in the position to act as a check on government by
exposing abuses); see also U.S. v. Scrushy, CR-03-BE-0530-S, at *3 (N.D. Ala. Apr. 13, 2004) (“The Government,
through press conferences, press releases, and statements created and/or played to the intense publicity surrounding
the SEC investigation and civil suits… Consequently, in the court's estimation, fairness called for an opportunity for
some response from the defense.”).
48
   See United States v. Carmichael, 326 F. Supp. 2d 1267, 1270 (M.D. Ala. 2004) ("the government has not
convinced the court that such drastic relief is warranted.").
49
   See Carmichael, 326 F. Supp. 2d at 1296 (“'Whether rooted in the Due Process Clause . . . or in the Compulsory
Process or Confrontation clauses of the Sixth Amendment, the Constitution guarantees criminal defendants a
meaningful opportunity to present a complete defense.'" (quoting Crane v. Kentucky, 476 U.S. 683, 690, (1986)
(citations omitted))); id. at 1298 (“However, the rules elucidated in these cases strongly imply that a criminal
defendant has a right protected by the Fifth and Sixth Amendments to look for material evidence and witnesses.”); id
at 1270 ("the harm posed by the website does not warrant restricting Carmichael's Fifth and Sixth Amendment right
to investigate his case by using the website to gather evidence.")).
50
   See e.g. United States v. Mallory, 40 F.4th 166, 175 (4th Cir. 2022).

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arrests based on faulty Chainalysis tracing that are quietly dropped before they show up in any

official record. It has also helped raise funds for his defense. When the Blockchain community

learned of this case, experts came forward to work on this case. The Defense's public comments

have greatly aided Mr. Sterlingov's ability to mount a defense and inform interested members of

the public of the matters of public policy related to this case and the DOJ's war on digital

currencies.

                                           Conclusion
       The Court should deny the Government’s motion for an Order to Show Cause because

the complained of statements in the Government’s renewed Motion for an Order to Show Cause

do not violate Local Rule 57.7(b). They are simply invitations for people to participate in a

closed Twitter Space to receive updates on the status of the case and to fundraise for Mr.

Sterlingov’s defense. Nothing in the Government’s newly complained of statements relate to

anything substantive about this case. Local Rule 57.7 is not a blanket ban on speech. Regardless,

considering the Government’s censorious and harassing motion, the Defense cancelled last night

the Twitter Space scheduled for tonight out of an abundance of caution. The inability of the

Defense to speak publicly about Mr. Sterlingov’s case without Government surveillance and

harassment unconstitutionally chills his and the Defense’s protected speech and materially

impacts his ability to put on a complete defense.

       If the Court denies the Government’s Order to Show Cause, then the Defense will

withdraw its renewed Motion for an Order to Show Cause for the Government’s, and its agents’,

extensive years-long violations of Local Rule 57.7 with their nationally and internationally

distributed extra-judicial pretrial commentary on Mr. Sterlingov’s case.




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       Should the Court grant the Government’s Order to Show Cause, the Defense renews its

motion for an Order to Show Cause for the Government’s violations of Local Rule 57.7, and

requests a hearing where the Government, and its agents mentioned above, go on the record

under penalty of perjury regarding their publicity in this case, and where the Defense can call

senior WIRED Magazine reporter Andy Greenberg to testify about the Government’s extensive

pretrial extrajudicial commentary.

       But for the reasons stated above, there has been no violation of Local Rule 57.7, and the

Court should deny the Government’s renewed Motion for an Order to Show Cause.




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Dated: January 17, 2024
Brooklyn, New York


                                  Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of January 2024, the forgoing document was filed

with the Clerk of Court using the CM/ECF System, and sent by email to the attorneys for the

Government listed below:

                                                                          s/ Tor Ekeland

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